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UNITED STATES DISTRICT COURT

FOR THE CENTRAL DISTRICT OF CALIFORNIA

 

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UNITED STATES OF AMERICA, No. CRY & aay J D9 u “ | JFw
Plaintiff, | INFORMATION,
v. [18 U.S.C. § 371: Conspiracy;
18 U.S.C. $$ 981 (a) (1) (C), .
AMTR FRIEDMAN, 982 (a) (7) and 28 U.S.C.

§ 2461(c): Criminal Forfeiture]
Defendant. ,

 

 

 

The United States Attorney charges:
[18 U.S.C. §.371]

A. GENERAL ALLEGATIONS

 

At. times relevant to this Information:

Defendant and Related Entities and Individuals

1. Pharmacy Owner A, along with other un-indicted
conspirators, owned and operated several compounding pharmacies,
including Pharmacy A, located in Beverly Hills, California,
within the Central District of California. Pharmacy A was
reimbursed by health care benefit programs for dispensing
prescriptions and other pharmaceuticals, including “custom”

over-the-counter drugs, such as Terocin, which was a pain relief

 

 
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product for minor aches and pains of muscles and joints.

2. Unindicted co-conspirator Marketer A was a marketer,
based in California, who, through Marketing Entity A, was paid
commissions for facilitating the referral of prescriptions for
compounded drugs and other pharmaceuticals, including Terocin.

3. Defendant AMIR FRIEDMAN was an anesthesiologist
licensed in California, who wrote prescriptions for compounded
and over-the-counter drugs for patients. Defendant FRIEDMAN
caused such prescriptions to be routed to Pharmacy A for
dispensing, in exchange for kickback and bribe payments from
Marketer A.

State Workers’ Compensation System

 

4, The California Workers’ Compensation System (“CWCS”)
was a system created by California law to provide insurance
covering treatment of injury and illness suffered by individuals
in the course of their employment. Under the cwcs, employers
were required to purchase workers’ compensation insurance
policies from insurance carriers to cover their employees. | When
an employee suffered a covered ‘injury or illness and received
medical services, the medical service provider submitted’ a claim
for payment to the relevant insurance carrier, which then paid
the claim. ‘Claims were submitted to and paid by the insurance
carriers by mail and electronically. The CWCS was governed by
various California laws and regulations. |

5. California law, including the California Business and
Professions Code and the California Insurance Code, prohibited
the offering, delivering, soliciting, or receiving of anything
of value in return for referring a patient for medical items or

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services.

Fiduciary Duties

6. Physicians, among other medical professionals, owed a
fiduciary duty to their patients, requiring these fiduciaries to
act in the best interest of the patients, and not for their own
professional, pecuniary, or personal gain. These fiduciaries
owed a duty of honest services to their patients for decisions
made relating to the medical care and treatment of those

patients, including the recommending and prescribing of

pharmaceuticals to such patients. A patient’s right to honest

services from these fiduciaries included the right not to have
the fiduciaries solicit or accept bribes and kickbacks connected
to the medical care or treatment of such patients/customers.

Health Care Programs

 

7. State workers’ compensation insurance carriers, along
with other public and private plans and contracts that Pharmacy
A billed for compounded drug prescription reimbursements, were
“health care benefit programs,” as defined by 18 U.S.C. §& 24 (b),
that affected commerce (collectively, the “Affected Health Care
Plans”).

Compounded Drugs

8. In general, compounding” Was a practice in which a
licensed pharmacist, a licensed physician, or, in the case of an
outsourcing facility, a person under the supervision of a
licensed pharmacist, combined, mixed, or altered ingredients of

a drug or multiple drugs to create a drug tailored to the needs

of an individual patient. _ The Food & Drug Administration did

not verify the safety, potency, effectiveness, or manufacturing

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quality of compounded drugs, that is, compounded drugs were not
FDA-approved. The California State Board of .Pharmacy regulated
the practice of compounding in the State of California.

9. Compounded drugs were prescribed by a physician when
an FDA-approved drug did not. meet the health needs of a
particular patient: For example, if a patient were allergic to
a specific ingredient in an FDA-approved.medication, such as a
dye or a preservative, a compounded drug would be prepared
excluding the substance that triggered the allergic reaction.
Compounded drugs would also be prescribed when a patient could
not consume a medication by traditional means, such as an
elderly patient or a child who could not swallow an FDA-approved
pill and needed the drug in a Liquid form that was not otherwise
available. |

B. |. OBJECTS OF THE CONSPIRACY

 

10. Beginning by no later.:than in or about August 2013,
and continuing through at least in or about May 2015, in Los
Angeles County, within the Central District of California, and
elsewhere, defendant FRIEDMAN, Pharmacy Owner A, and Marketer A,
and others known and unknown to the United States Attorney,
knowingly conspired to commit the following offenses against the
United States:

a. mail fraud, including through the deprivation of
honest services, in violation of Title 18, United. States Code,
Sections 1341 and 1346;

b. wire fraud, including through the deprivation of
honest services, in violation of Title 18, United States Code,

Sections 1343 and 1346; and

 
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Cc. use of the mails and interstate facilities in aid
of bribery, in violation of Title 18, United States Code,
Section 1952(a) (1) and (3).

Cc. MANNER AND MEANS OF THE CONSPIRACY

 

11. The objects of the conspiracy were carried out, and to
be carried out, in substance, as follows:

a. : Pharmacy owner A would pay Marketer A kickbacks
in exchange for arranging for, recommending, and causing the
referral of, pre-formulated prescriptions for compounded drugs
and other pharmaceuticals (collectively, “Kickback Tainted
Prescriptions”) to Pharmacy A.

b. Based on these payments, Marketer A would offer
kickbacks and bribes to defendant FRIEDMAN, who, in response to
the promise of kickbacks and bribes, would refer and cause the
referral of Kickback Tainted Prescriptions to Pharmacy A.

Cc. Pharmacy A would dispense compounded drugs and
other pharmaceuticals authorized by the Kickback Tainted
Prescriptions, send these items to patient-beneficiaries through
the mail, and submit the corresponding claims for reimbursement
to the Affected Health Care Plans.

d. Based on these reimbursements, Pharmacy A would

pay Marketer A, who, in turn, would write checks representing

kickback and bribe payments to defendant FRIEDMAN, who would

continue to authorize Kickback Tainted Prescriptions.
D. . OVERT ACTS |

12. In furtherance of the conspiracy and to accomplish its
objects, on or about the following dates, defendant FRIEDMAN -and
other co-conspirators known and unknown to the United States

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Attorney, committed and willfully caused others to commit the
following overt acts, among others, within the Central District
of California and elsewhere:

Overt Act No. 1: On August 7, 2013, defendant FRIEDMAN
caused Marketer A to issue check number 2032, drawn on Marketing
Entity A’s Bank of America account ending in 0636 (the “0636
BofA Acct”), in the amount of $22,000, to defendant FRIEDMAN.

Overt Act No. 2: . On March 27, 2015, defendant FRIEDMAN
caused Marketer A to issue check number 1110, drawn on the 0636
BofA Acct, in the amount of $40,000, to defendant FRIEDMAN.

Overt Act No. 3: On May 28, 2015, defendant FRIEDMAN
caused Marketer A to issue check number 1147, drawn on the 0636

BofA, in the amount of $32,600, to defendant FRIEDMAN.

 
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FORFEITURE ALLEGATION
'[18 U.S.C. S§§ 982 (a) (7), 981 (a) (1) (C) and 28 U.S.C. § 2461(c)]
13. Pursuant to Rule 32.2(a), Fed. R. Crim. P., notice is
hereby given to defendant FRIEDMAN that the United States will
seek forfeiture as part of any sentence in accordance with Title
18, United States Code, Sections 982(a) (7) and 981(a) (1) (C) and
Title 28, United States Code, Section 2461(c), in the event of
defendant FRIEDMAN’ s conviction of the offense set forth in this
Information.. |
14, Defendant FRIEDMAN, if SO convicted, shall forfeit to
the United States of America the following:

(a) all right, title, and interest in any and all
property, real or personal, constituting, or derived from, any
proceeds traceable to the offense; and

(b) To the extent such property is not available for
forfeiture, a sum of ‘money equal: to the total value of the
property describéd in subparagraph (a).

15. Pursuant to Title 21, United States Code, Section

853(p), as incorporated by Title 28, United States Code, Section

2461 (c), defendant FRIEDMAN, if so convicted, shall forfeit
substitute property, up to the value of the property described
in the preceding paragraph if, as the result of any act or
omission of defendant FRIEDMAN, the property described in the
preceding paragraph or any portion thereof (a) cannot be located
upon the exercise of due diligence; (b)-has been transferred,
sold to, or deposited with a third party; (c) has been placed

beyond the jurisdiction of the court; (d) has been substantially

 
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diminished in value; or (e) has been commingled with other

property that cannot be divided without difficulty.

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